            Case 4:20-cv-05111-RMP                   ECF No. 15          filed 10/21/20     PageID.495 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                  for the_                                          U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
                   JAMES D. GRIEPSMA,                                                                          Oct 21, 2020
                                                                                                                   SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff
                                   v.                                )
SUPERINTENDENT DONALD HOLBROOK,                                      )        Civil Action No. 4:20-CV-5111-RMP
SERGEANT TORRESCANO, C/O ROBERT SMITH #7556,                         )
C/O RAILY, C/O DAHL, C/O HEY GROGAN, C/O ZARNT,                      )
C/O CORNAJO, C/O FARROW, C/O M. WALISER #7395,
and PA-C JO ELLA PHILLIPS,
                       Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Action is DISMISSED WITH PREJUDICE for failure to state a claim upon which relief may be granted under 28 U.S.C.
’
              §§ 1915(e)(2) and 1915A(b)(1).




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge             ROSANNA MALOUF PETERSON




Date: 10/21/2020                                                            CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Allison Yates
                                                                                          (By) Deputy Clerk

                                                                             Allison Yates
